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U.S. COURTHOUSE
UNITED STATES DISTRICT COURT *° COLUMELNS QHa9235-2388.
SOUTHERN DISTRICT OF OHIO )719-

PROBATION OFFICE

April 8, 2009

J oseph Reed, Esq.
713 S. Front Street
Columbus, Ohio 43206

RE: Rudy Tirado
2:08CR097

Dear Mr. Reed:
DISCLOSURE NOTIFICATION

The presentence investigation ordered in the above case will be completed and the initial presentence
report will be sent to you via certified mail on May 13, 2009.

You and/or your client have until June 1, 2009 to communicate objections to United States Probation
Officer David W. Walden 719-3100 so that any objections may be resolved informally. Please
forward any objections directly to the probation officer rather than filing the objections electronically
with the clerk’s office.

 

It is suggested that you and your client may want to review the report with the Probation Officer.
The Probation Office has found that this often brings immediate resolution of a number of
objections. The final presentence investigation report will be sent to the Court and the parties by
June .

 

When the "final presentence report" is sent to the Judge, you will receive two copies even if there
are no changes. The final presentence report will have addenda and certification and will be the
official report used by the Court at the time of sentencing and sent to the Court of Appeals, if
necessary.

Unauthorized copying or disclosure of the information contained in any draft or final presentence
report, addendum, statement, or attachment to such a report is prohibited.

Very truly yours,

C. Patrick Crowley, Chief
U.S. Probation Officer

CC: Defendant
United States Attorney - Kelley
Clerk of Courts - Lisa Wright
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